
USCA1 Opinion

	












                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit

                                 ____________________

            No.  97-1340
                                     NASCO, INC.,

                                Plaintiff, Appellant,

                                          v.

                                PUBLIC STORAGE, INC.,

                                 Defendant, Appellee.

                                 ____________________

            No.  97-1457
                                PUBLIC STORAGE, INC.,

                             Defendant, Cross-Appellant,

                                          v.

                                     NASCO, INC.,

                              Plaintiff, Cross-Appellee.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Reginald C. Lindsay, U.S. District Judge]
                                              ___________________
                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                                 Lynch, Circuit Judge,
                                        _____________
                             and Keeton,* District Judge.
                                          ______________

                                 ____________________


                      Joseph  G. Abromovitz, with whom John G. Balzer and
                      _____________________            ______________

                                
            ____________________

            * Of the District of Massachusetts, sitting by designation.















            Abromovitz  &amp;  Leahy,  P.C., were  on  brief,  for plaintiff-
            ___________________________
            appellant NASCO, Inc.
                      James E. Carroll, with whom Kristen M. Lacovara and
                      ________________            ___________________
            Cetrulo &amp; Capone were on brief, for defendant-appellee Public
            ________________
            Storage, Inc.

                                 ____________________
                                   October 8, 1997
                                ____________________











































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                      LYNCH,  Circuit Judge.  One novel issue under Mass.
                      LYNCH,  Circuit Judge.
                              _____________

            Gen. Laws ch. 93A  is presented by this appeal: May a chapter

            93A   11  claimant be awarded attorney's fees  where the only

            "adverse  effects"  it  suffers from  the  violation  are the

            incurring of valid bills which it  does not pay because it is

            unable to do so?  We answer this question  in the affirmative

            in light of Massachusetts precedent and the policy behind the

            attorney's fees provisions of chapter 93A.

                      NASCO,  Inc.,  a   family  business  in   financial

            trouble,  attempted to sell its principal asset, an old brick

            warehouse in  Chelsea, Massachusetts.   Lengthy  negotiations

            with Public Storage Inc. ("PSI"), a California-based company,

            produced a  purchase and sale  agreement in February  of 1990

            which NASCO thought constituted an effective contract for the

            sale of the  building, but which  a jury did  not.  Both  the

            trial  judge and the  jury (in an  advisory capacity) thought

            that  PSI nonetheless  had engaged  in  unfair and  deceptive

            business  practices in the  course of its  dealings, although

            the judge found so for only a limited period of time.

                      PSI escaped an award of significant damages against

            it when the  judge found that, while NASCO  had suffered harm

            during  this limited  period, NASCO  had  not shown  monetary

            damages.  The judge did award NASCO attorney's fees and costs

            on that basis.   But the  award was only  a fraction of  what

            NASCO  had sought, because  NASCO had failed  to document the



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            fees  for its successful  claim under chapter  93A separately

            from the fees for its unsuccessful contract claim.  Conceding

            the jury verdict on the contract claim, NASCO appeals, saying

            that the evidence showed that  PSI violated chapter 93A for a

            longer  period, that  NASCO  suffered  damages  of  at  least

            $700,000, and that it should have received more in attorney's

            fees.  PSI  also appeals, arguing that the  evidence does not

            show any violation of chapter 93A at all.  We affirm.

                                          I.

                      NASCO,  Inc.  manufactured  bedding products  at  a

            factory  located  in  a  large  brick  building  in  Chelsea.

            NASCO's  financial difficulties convinced the owners by early

            1987 to  wind down  the business by  selling off  the assets,

            paying  creditors,  and  distributing the  remainder  to  the

            shareholders.    NASCO's  principal  asset  was  the  Chelsea

            property, which an appraiser then  valued at $4 million.  The

            property was subject to a  $40,000 first mortgage held by the

            Small  Business  Administration  and  to  an  $800,000 second

            mortgage held by Shawmut Bank.

                      NASCO's property interested Public Storage, Inc., a

            corporation that operates  self-storage facilities throughout

            the United States.  In  February 1987, NASCO and PSI executed

            a purchase  and sale agreement  for the property,  reciting a

            price of $3.6 million.  The parties terminated that agreement

            by mutual consent  after learning that Chelsea's  zoning laws



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            did not permit  the use of the property  as a mini-warehouse.

            PSI  remained interested in  the project, and  pursued relief

            from  the  zoning restriction  at  its own  expense,  both in

            administrative appeals and ultimately in the courts.

                      During  this  time,  NASCO  actively  sought  other

            buyers for  the property  while continuing negotiations  with

            PSI.  In  September 1988, Cambridge Investment  Group offered

            $4  million.   In February  1989, Rauseo  &amp; Co.  offered $3.4

            million.  PSI was kept informed of the offers.  PSI continued

            to  express its  interest in  the  property, contingent  on a

            favorable  outcome of its  zoning litigation, and  offered to

            increase its offering price to  $3.8 million.  Neither of the

            other offers resulted in a sale.

                      Throughout this period, NASCO had difficulty making

            its payments  on the Shawmut  loan.  By  the summer of  1989,

            shareholders had loaned  the corporation a total  of $268,000

            in personal funds and could  no longer afford to keep current

            on the loan  payments.  Anticipating  a favorable outcome  in

            the  pending  land   court  litigation,  PSI  representatives

            persuaded Shawmut not to foreclose on the property.

                      In November 1989, the land court ruled in favor  of

            PSI  on the  zoning issue.   NASCO  and PSI  began exchanging

            drafts of  a second purchase  and sale  agreement (the  "1990

            P&amp;S").     On   January   31,   1990,   all   necessary   PSI

            representatives  signed the  new  agreement; on  February  2,



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            1990,  NASCO representatives  counter-signed.   The agreement

            contained an "expiration  clause" which PSI had  demanded and

            which the parties had negotiated.  The clause provided:

                      11.  Expiration.   This  Agreement  shall be  of no
                           __________
                           force or effect unless,  within seven (7) days
                           after  the   date  this  Agreement   has  been
                           executed  by Seller  and  Buyer's Real  Estate
                           Representative, an  Officer, the  Secretary or
                           Assistant  Secretary of  Buyer, executes  this
                           Agreement on  behalf of Buyer and  delivers to
                           Seller  an  executed  copy  of this  Agreement
                           signed on  behalf of  Buyer by  both its  Real
                           Estate Representative and either the Secretary
                           or an Assistant  Secretary of Buyer,  together
                           with the Deposit.

            Both PSI's local real estate representative and its secretary

            had signed the 1990 P&amp;S on January 31, but PSI never paid the

            required deposit.

                      Between early  February  1990 and  March 19,  1990,

            NASCO inquired about  the deposit several times,  both orally

            and by letter.   PSI did not respond by stating that the 1990

            P&amp;S had  expired because the  deposit had not been  paid, but

            instead  claimed that  the  funds  were tied  up  in its  own

            internal bureaucracy.   The trial  judge found that  in other

            respects PSI continued to act  as though it still intended to

            purchase the property under the agreement.  Specifically, PSI

            employees requested access to the facility and asked NASCO to

            restore  electrical  power.   However,  in  the  meantime PSI

            continued  refining  its  own   economic  forecasts  of   the

            viability  of   the  Chelsea   property  as   a  self-storage

            warehouse.   PSI's  statistical analysis  indicated that  the


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            project would  only be viable  at a price between  $1 million

            and $2 million lower than the 1990 P&amp;S provided.  PSI decided

            to  abandon the  project.   On March  19, 1990,  PSI informed

            NASCO, by  letter, that  PSI had  "decided to  terminate" the

            1990 P&amp;S.  The letter did not refer to the expiration clause.

            NASCO   informed  its  bank  that   the  deal  with  PSI  had

            evaporated, and within two months  the property was sold at a

            foreclosure sale for $852,000.

                                         II.

                      NASCO sued PSI for breach of contract and violation

            of chapter 93A.   The district court  initially granted PSI's

            summary  judgment motion on  both counts, reasoning  that the

            expiration clause was unambiguous,  requiring the payment  of

            the deposit to bind PSI, and that NASCO could not establish a

            violation of  chapter 93A  in the  absence of an  enforceable

            agreement.    This  Court  reversed, finding  the  expiration

            clause ambiguous, and remanded for trial.  See NASCO, Inc. v.
                                                       ___ ___________

            Public Storage, Inc. (NASCO I), 29 F.3d 28 (1st Cir. 1994).  
            ____________________  _______

                      The case was tried before a different judge.  NASCO

            amended its complaint to add claims for breach of the implied

            covenant  of good  faith and fair  dealing and  for estoppel.

            Before trial,  PSI changed  its legal  theory, admitting  the

            existence of a contract prior to the expiration of the seven-

            day period,  and the  parties dismissed  the estoppel  claim.

            Following   a  fourteen-day  trial,  a  jury  ruled  for  the



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            defendant on the  contract claim and on the  implied covenant

            of  good faith claim.  Serving as  an advisory jury only, the

            jury  answered interrogatories finding  in favor of  NASCO on

            the chapter 93A  claim, and recommended damages  of $700,000.

            Judge  Lindsay, not  accepting the advisory  jury's findings,

            ruled that there was no violation of chapter 93A prior to the

            execution of the  1990 P&amp;S on February 2  because the parties

            did not  consider the  sale to  be a  "firm deal"  until that

            document was signed.

                      The district court  did find that PSI  had violated

            chapter  93A  through  its  deceptive  conduct  following the

            expiration of the 1990 P&amp;S in an attempt to keep its  options

            open, but  ruled originally that  NASCO had not  been damaged

            thereby.  The district court amended its judgment  to reflect

            "adverse    effects"    from   PSI's    deceptive    conduct.

            Specifically, it found that PSI's conduct led  NASCO to incur

            additional  legal  expenses  and  the  expense  of  restoring

            electricity to the  facility following the expiration  of the

            contract.  The district court ruled that NASCO had not proven

            the amount  of these damages  and so could not  recover them,

            but  that the existence  of these "adverse  effects" entitled

            NASCO  to an  award of  attorney's fees  for the  chapter 93A

            claim only.  The district court awarded $35,000 in attorney's

            fees and $4,097  in costs, one-fifth of what NASCO requested,

            after discounting the portion of plaintiff's fee request that



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            it considered related to the unsuccessful contract claim.

                                         III.

                      Both  sides appeal.   NASCO does not  challenge the

            jury's finding on  the contract and implied  covenant of good

            faith claims,  but rather  appeals the  judge's finding  that

            PSI's  conduct  prior to  February  2, 1990  did  not violate

            chapter 93A.    NASCO argues  that the  judge's finding  goes

            against  the  weight  of  the  evidence  and  disregards  the

            advisory jury's findings.   NASCO also  claims the amount  of

            the  attorney's fees awarded  was "arbitrary and capricious."

            PSI  challenges  the   judge's  finding  of  a   chapter  93A

            violation, claiming it is against the weight of the evidence,

            and  challenges the  judge's  finding  of  "adverse  effects"

            supporting the attorney's fee award.  PSI does  not challenge

            the amount of attorney's fees awarded.

                                         IV.

            The Chapter 93A Violation
            _________________________

                      When this case was previously before this court, we

            reversed  summary judgment for defendant on both the contract

            and the chapter 93A claim.   As to the chapter 93A claim,  we

            noted that the evidence could be read to infer that PSI:

                      (1)  signed  the  Agreement in  order  to
                      obligate NASCO to deliver the property to
                      it for $3,575,000.00, if PSI so chose;

                      (2) intentionally breached its obligation
                      to  pay the  $20,000.00 deposit,  knowing
                      full well  that NASCO was  in no position
                      to repudiate the  Agreement on the  basis


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                      of PSI's non-payment of the deposit; 

                      (3)  used  the period  of time  after the
                      signing of  the Agreement  to investigate
                      the  property  further and  to  determine
                      whether  it should  honor the  Agreement;
                      and 
                      (4) then used its wrongful non-payment of
                      the  deposit   in  order  to   avoid  its
                      obligations under the Agreement.

            NASCO I, 29 F.3d at 34 (footnote omitted).  That evidence and
            _______

            more was introduced at trial.

                      We review  basic chapter 93A  law.  A party  is not

            exonerated  from chapter 93A liability because there has been

            no breach  of contract.   The law  of Massachusetts  has been

            clear  on this  point  since  at least  the  decision of  the

            Supreme Judicial Court in Jet Line Services, Inc. v. American
                                      _______________________    ________

            Employers Ins. Co.,  537 N.E.2d 107 (Mass. 1989).   The court
            __________________

            in  Jet  Line held  that  there  was  no coverage  under  the
                _________

            contract  of  insurance  between  plaintiff  and   defendant.

            Nonetheless,  the conduct of the insurance company in leading

            the  insured to  believe there  was  coverage constituted  an

            unfair and  deceptive trade  practice.   Accord Massachusetts
                                                     ______ _____________

            Farm  Bureau Federation, Inc. v. Blue Cross of Massachusetts,
            _____________________________    ____________________________

            Inc., 532 N.E.2d  660, 664 (Mass. 1989)(violation  of chapter
            ____

            93A     11  need  not  be  premised  on  a  violation  of  an

            independent common law or statutory duty).  The fact that the

            jury  found no breach  of contract does  not preclude NASCO's

            chapter 93A claim.

                      While  the rubric  of "rascality"  as  the test  of


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            whether  something is  "unfair or  deceptive"  has been  oft-

            recited, both the Supreme Judicial  Court and this court have

            noted  that such rhetoric  is "uninstructive."  See Cambridge
                                                            ___ _________

            Plating  Co., Inc. v. Napco, Inc., 85 F.3d 752, 768 (1st Cir.
            __________________    ___________

            1996);  Massachusetts Employees  Ins.  Exch. v.  Propac-Mass,
                    ____________________________________     ____________

            Inc.,  648  N.E.2d 435,  438  (Mass.  1995).   We  apply  the
            ____

            standards of  Propac and  Jet Line and  easily hold  that the
                          ______      ________

            evidence was  not so  overwhelming as  to  require the  trial

            court to find that PSI acted in an unfair or deceptive manner

            before February 2, 1990.

                      The evidence adequately supports the trial  judge's

            conclusion that before February 2, 1990 NASCO was aware that,

            in the  absence of  a signed P&amp;S  with PSI,  it could  not be

            assured  of a  sale of  the  Chelsea property.   Thus,  under

            Pappas Indus.  Parks, Inc.  v. Psarros,  511 N.E.2d 621,  623
            __________________________     _______

            (Mass. App. Ct. 1987), the judge could  readily conclude that

            it   was  not   reasonable  for   NASCO  to  rely   on  PSI's

            representations before  February 2.   While  the judge  could

            have reached  the opposite  conclusion, as  did the  advisory

            jury, he was not required to do so.1

                      PSI in  turn argues that there was  no violation of

            chapter 93A after February 2, 1990.  In Propac, 648 N.E.2d at
                                                    ______

            438, the Supreme Judicial Court directed that the focus be on

                                
            ____________________

            1.  The advisory jury's opinion does not bind the court.  See
                                                                      ___
            Wyler v. Bonnell Motors, Inc.,  624 N.E.2d 116, 118-19 (Mass.
            _____    ____________________
            App. 1993).

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            "the nature of the challenged  conduct and on the purpose and

            effect of  the conduct."   As in  Propac, the  defendant here
                                              ______

            continued to act as though a legal relationship were in place

            when  it was  not and  the conduct  was unilateral  and self-

            serving.   In both cases,  some harm  was also done  to third

            parties --  in this  instance, the  closing attorney and  the

            electric  company.   In  each  instance,  the  plaintiff  was

            particularly vulnerable  and the  defendant's unfair  conduct

            gave it greater leverage.

                      The  record also easily  supports the trial judge's

            findings that after February 2,  1990 NASCO believed it had a

            firm deal with PSI and that such a belief was reasonable  and

            induced by  PSI's actions.   Cf.  Greenstein v.  Flatley, 474
                                         ___  __________     _______

            N.E.2d 1130 (Mass. App. Ct. 1985).  As the trial judge found:

                      PSI used the  period between February  2,
                      1990 and March  19, 1990 to  complete its
                      assessment of  the economic  soundness of
                      the purchase of the Chelsea Property.  To
                      keep  all   of  its  options   open,  PSI
                      unfairly  and  deceptively led  NASCO  to
                      believe that the parties had entered into
                      a binding  agreement and the  deposit was
                      delayed merely because  of administrative
                      inefficiencies.    All   the  while,  PSI
                      actually withheld the  deposit because it
                      reasoned  that  the  failure to  pay  the
                      deposit would permit PSI to repudiate the
                      agreement if, after  review, the purchase
                      of the Chelsea Property  seemed not be an
                      economically   advantageous  transaction.
                      Thus   when  PSI   determined  that   the
                      purchase was indeed economically unsound,
                      it instructed its lawyer  to advise NASCO
                      that the deal was off.

                      During  February  and March,  NASCO's  attorney and


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            broker made  several inquiries  concerning the  late deposit.

            They testified that  PSI reassured them that  the delays were

            simply  the result of PSI's bureaucratic procedures, and that

            PSI never  indicated that the  contract had expired.   It was

            only after the filing of NASCO's lawsuit that PSI claimed the

            contract had expired because of the unpaid deposit.

            Attorney's Fees
            _______________

                      The  more  difficult  question  is  whether   NASCO

            suffered any adverse effects sufficient  to trigger liability

            for  attorney's fees  under chapter  93A.   In Jet  Line, the
                                                           _________

            court held that "Under   11, a  plaintiff must be entitled to

            relief in some other  respect in order  to be entitled to  an

            award of  attorneys' fees. . . . Under    11, [the] unfair or

            deceptive conduct must have had some adverse effect  upon the

            plaintiff, even if  it is not quantifiable in  dollars."  Jet
                                                                      ___

            Line,  537 N.E.2d at  115.  Because  this is a    11 business
            ____

            case, and not a   9 consumer case, the Jet Line rule applies.
                                                   ________

                      The trial judge found that NASCO had not shown that

            there were  any other  potential buyers for  the building  in

            this February/March 1990 time frame, so NASCO could not claim

            the  sale value  of the  building as  damages.   The district

            court found two elements of damage: NASCO, believing it had a

            contract, incurred legal  fees in anticipation of  a closing,

            and NASCO suffered losses in the form of the costs associated

            with restoring power to the  Chelsea property at the  request



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            of  PSI.    Such  effects  would indeed  meet  the  Jet  Line
                                                                _________

            requirement  of "adverse effects."   See also  Star Financial
                                                 ________  ______________

            Services, Inc. v. AA Star Mortgage Corp., 89  F.3d 5, 15 (1st
            ______________    ______________________

            Cir.  1996) (award of injunctive relief based on demonstrated

            risk  of  future actual  loss  constitutes an  unquantifiable

            "adverse  effect" under Jet Line); Jillian's Billiard Club of
                                    ________   __________________________

            America, Inc. v. Beloff Billiards, Inc., 619  N.E.2d 635, 638
            _____________    ______________________

            (Mass.  App. Ct.  1993) (where  no damages awarded,  value of

            what  was taken  or start  up  costs, which  might have  been

            quantifiable,  are sufficient to  support award of attorney's

            fees).

                      PSI argues that  the record does not  support these

            conclusions for  two reasons.   First,  while NASCO  incurred

            legal fees for work by  counsel in anticipation of a closing,

            there  is no evidence that  it ever paid  those bills, and is

            not now obligated  to pay as any claim for  legal services is

            barred by the statute of  limitations.  Second, NASCO did not

            reactivate electricity  at PSI's request  during the  Chapter

            93A  violation period  and it  did not  pay for  the electric

            expenses   because  it  took   the  position  that   PSI  was

            responsible to pay those costs and because NASCO had no money

            to pay these bills.

                      The record shows that Peter  Cooney, NASCO's broker

            for the property, was contacted by Kevin Kinneavy of PSI, who

            requested  that  power  be  restored  to  the property.    In



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            response,  NASCO's attorney,  Thomas  Bennet,  sent a  letter

            dated  February 12,  1990 to  Boston  Edison requesting  that

            power be restored to the  property.  Mr. Bennet sent copy  of

            this letter to Mr. Kinneavy.   Witnesses testified that power

            was   subsequently  restored  to  the  property,  and  Harvey

            Shapiro, NASCO's vice president, testified that Boston Edison

            billed  NASCO after February  of 1990,  but that  these bills

            were  not paid.   Attorney  Bennet's  billing records,  which

            listed several entries connected with the sale of the Chelsea

            property between February 2 and  March 19, 1990, were also in

            evidence.

                      In  light of this evidence that NASCO incurred both

            legal and  electrical bills  and the  trial judge's  implicit

            finding that the bills were in fact incurred,  PSI's argument

            evolves to a contention that  because NASCO did not pay these

            bills,  it has suffered  no "adverse effects"  under Jet Line
                                                                 ________

            and  is not entitled to damages.   NASCO's failure to pay the

            bills  means  that  it  did  not recover  damages  for  those

            liabilities, but it  does not mean that NASCO  did not suffer

            adverse effects.  To the  extent that PSI's objection is that

            the bills were  not valid or the debts were not validly owed,

            the trial judge  implicitly found against PSI.   It would, of

            course, be a  different matter if the bills  were inflated or

            fictitious.  To the extent that PSI's objection is that there

            were valid debts, but NASCO did not pay them, the decision of



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            the Supreme Judicial  Court in DiMarzo v. American  Mut. Ins.
                                           _______    ___________________

            Co., 449 N.E.2d  1189 (Mass. 1983) is  instructive.  Although
            ___

            DiMarzo  dealt with  a  judgment  and not  a  mere bill,  the
            _______

            Supreme   Judicial  Court  held  that  entry  of  a  judgment

            constitutes a loss of money for  purposes of chapter 93A.  In

            addition, DiMarzo said,  "[t]he loss does not turn on whether
                      _______

            the  judgment has  been satisfied."  Id.  at 1196.   While  a
                                                 ___

            judgment is  admittedly different than  a bill, that  a valid

            debt (evidenced by  a bill) has  not been paid does  not mean

            that there has been no adverse effect.

                      PSI's unfair  and deceptive practices  caused NASCO

            to  incur these  legal and electrical  bills.   This worsened

            NASCO's  financial position  and put  it at  risk of  suit on

            these bills.   PSI should  not avoid attorney's fees  for its

            behavior because NASCO could not  pay bills it would not have

            incurred  had  PSI  not  violated  the  law.   Indeed,  PSI's

            position  seems  contrary  to  the  intent  of  chapter  93A.

            Vulnerable, struggling companies in  bad bargaining positions

            are more  likely to need  the protection of chapter  93A than

            robust,  successful companies.   If we adopt  PSI's position,

            impecunious  businesses, unable to pay their bills and trying

            to sell their assets in order to do so, would be placed  on a

            different  footing  under  chapter  93A   than  more  solvent

            plaintiffs.  The  purpose of the chapter 93A    11 attorney's

            fees provision is to deter businesses from engaging in unfair



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                                          16















            and  deceptive trade  practices  where  those practices  have

            adverse effects.  See Commonwealth v. Fall River Motor Sales,
                              ___ ____________    _______________________

            Inc.,   565  N.E.2d  1205,  1214  (Mass.  1991);  Manning  v.
            ____                                              _______

            Zuckerman, 444 N.E.2d  1262, 1266 (Mass. 1983)  ("Through the
            _________

            imposition of penalties for specific unfair or deceptive acts

            or  practices  between  particular  individuals, the  statute

            seeks to  deter  these practices  and to  reduce the  general

            danger to  the public  arising from  the  potential for  such

            unscrupulous  behavior  in the  marketplace.").   We conclude

            that NASCO was eligible for an award of attorney's fees.  

                      NASCO argues  that the district  court's fee  award

            was  too small.   But Jet Line,  537 N.E.2d at  114-15, holds
                                  ________

            that an attorney's fees award should be adjusted to eliminate

            any  award for  legal services  rendered  in connection  with

            unsuccessful  claims.  The  district court acted  well within

            its discretion  when it decided  to award NASCO only  part of

            the  attorney's fees  and  costs NASCO  had  incurred in  the

            course of this  litigation.  See DiMarzo, 449  N.E.2d at 1202
                                         ___ _______

            ("The amount  of reasonable  attorney's fees  under c.93A  is

            within  the broad discretion of the trial judge."); Linthicum
                                                                _________

            v. Archambault, 398  N.E.2d 482, 488 (Mass.  1979), overruled
               ___________                                      _________

            in part  on other  grounds by Knapp  Shoes, Inc.  v. Sylvania
            _____________________________ __________________     ________

            Shoe Mfg. Corp., 640 N.E.2d 1101, 1105 (Mass. 1994).
            _______________

                                          V.

                      To  conclude,  we  hold  that  the  district  court



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            correctly applied the  law of chapter 93A to  this case.  The

            record  clearly  supports the  district court's  finding that

            PSI's actions  from February 2  to March 19 of  1990 violated

            chapter  93A's  prohibition  of  unfair  and  deceptive trade

            practices.   The district court was  also correct to conclude

            that  NASCO suffered adverse  effects during this  period for

            which attorney's fees could be  awarded.  The judgment of the

            district court is therefore  affirmed.  Costs are awarded  to
                                         ________

            NASCO.



































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